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                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF OREGON

In re
                                                   Case No. 16-33185-pcm11
Peter Szanto,
                                                   UNITED STATES TRUSTEE’S
Debtor.                                            OBJECTION TO DEBTOR’S MOTION
                                                   FOR STAY; DECLARATION OF MARTIN
                                                   L. SMITH




        Acting United States Trustee for Region 18, Gregory M. Garvin (the “United States

Trustee”) hereby objects to the Emergency Motion for Stay (the “Stay Motion”) filed by Peter

Szanto (the “Debtor”) as ECF document no. 744. The Stay Motion seeks a stay of this

bankruptcy case, and all related adversary proceedings, until September 1, 2019. The pending

adversary proceedings include discharge litigation in UST v. Szanto, no. 18-03022-pcm (the

“Discharge Litigation”). This objection is supported by the attached Declaration of Martin L.

Smith (the “Smith Decl.”) and Exhibit A thereto.

        The Stay Motion is based on the Debtor’s assertions of medical emergencies and

procedures, which he alleges require his immediate time and attention to such a degree that

everything bankruptcy-related must stop. To support the Stay Motion, the Debtor attached an


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Exhibit A that he says represent certain medical documents and photographs relating to his

purported surgery on June 13, 2019. The Court will note that the Debtor’s Exhibit A contains

substantial redactions, including physician and nurse identifying information. Noticeably absent

in support of the Stay Motion is a declaration or letter from any medical professional about the

purported recent surgery, or what the Debtor says is a life-threatening additional surgery

scheduled for July 10, 2019.

        In light of the Court having found at least two instances of the Debtor filing altered

documents with the Court – in the main case it was bank statements, and in the Discharge

Litigation it was an altered photograph – the Debtor should be required to provide additional

evidence of the facts he asserts justify a stay. That evidence should be in a form that allows

parties in interest to confirm its authenticity and accuracy. For example, a detailed letter or

declaration signed by a physician who is authorized by the Debtor to speak with parties in

interest about the letter’s content.

        It is unclear what the exact scope of the requested stay would be. For instance, is he

asking to prohibit the chapter 7 trustee from further administration of the case during the stay?

Also, there are trials scheduled in adversary proceedings, including the Discharge Litigation, and

a multitude of deadlines leading up to trial. Is he, as it appears, asking for all deadlines in all

litigation to be stayed and new Scheduling Orders entered sometime after September 1st? What
about, for example, discovery to a third party that doesn’t require any action by the Debtor?

        The United States Trustee recently received a letter from the Debtor saying he was going

to be in Seattle in July, and that he would be available on July 16th to come to the United States

Trustee’s office and educate us about why the Discharge Litigation is frivolous and not justified.

A copy of the letter is attached to the Smith Decl. as Exhibit A. The Debtor’s availability in
Seattle on July 16th seems at odds with the life-threatening surgery he says is scheduled to

undergo on July 10th. That contradiction, the insufficiency of the current evidence provided to

support the Stay Motion, and the Debtor’s history of attempting fraud on the Court with altered

documents, all suggest that the Stay Motion may be a bad-faith litigation tactic by the Debtor.

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       The United States Trustee requests that the Stay Motion be denied without a hearing and

without prejudice to the Debtor filing a new motion that provides sufficient detail of the form,

scope and duration of the stay requested, and that is supported by admissible and confirmable

documentary evidence of his need for the global-type stay he seems to want.

       DATED this 24th day of June, 2019
                                                     Respectfully submitted,

                                                     GREGORY M. GARVIN
                                                     Acting United States Trustee for Region 18

                                                     /s/ Martin L. Smith
                                                     Martin L. Smith, WSBA #24861
                                                     Trial Attorney




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                             DECLARATION OF MARTIN L. SMITH

       I, Martin L. Smith, declare as follows:
       1.      I am a trial attorney employed by the United States Department of Justice in the
Office of the United States Trustee, Region 18, Seattle, Washington. I represent the plaintiff,
Gregory M. Garvin, Acting United States Trustee for Region 18, in the above-captioned
adversary proceeding.
       2.      I have personal knowledge of the facts set forth herein and, if called as a witness,
I would testify competently thereto.
       3.      Attached hereto as Exhibit A is a true and correct copy of a letter I received from

Peter Szanto as an email attachment on June 23, 2019.



       I declare under penalty of perjury that the foregoing is true and correct.
       Executed this 24th day of June, 2019

                                                     /s/ Martin L. Smith
                                                     Martin L. Smith




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                              EXHIBIT A




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